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 8
                         UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
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11   BLAKE LIVELY,             )            CASE NO.: 2:25-mc-00055
12
                               )
                 Movant,       )            JOINT STIPULATION OF BLAKE
13
     v.                        )            LIVELY’S MOTION TO COMPEL
14
                               )            COMPLIANCE WITH THIRD-
     TERA HANKS, ASHMI         )            PARTY SUBPOENAS PURSUANT
15   ELIZABETH DANG, AHMED     )            TO FEDERAL RULE OF CIVIL
16
     MUSIOL, MITZ TOSKOVIC, AJ )            PROCEDURE 45
     MARBORY, JENNIFER         )
17   BENSON, SHEKINAH REESE, )              Date: July 11, 2025
     and JARRIESSE BLACKMON, )              Time: 8:30 a.m.
18
                               )            Place: Courtroom TBD
19               Respondents.  )
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        JOINT STIPULATION IN SUPPORT OF MOTION TO COMPEL COMPLIANCE WITH SUBPOENAS
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 1           Blake Lively, by and through her counsel, Manatt, Phelps & Phillips LLP,
 2   hereby submits this Motion and Joint Stipulation in support of her motion to compel
 3   compliance with subpoenas issued to Ashmi Elizabeth Dang, Ahmed Musiol, Mitz
 4   Toskovic, Tera Hanks, AJ Marbory, Jennifer Benson, Shekinah Reese, and Jarriesse
 5   Blackmon, third-party witnesses in the consolidated cases captioned Lively v.
 6   Wayfarer Studios, et al., 1:24-cv-10049 (S.D.N.Y.) (the “Lively Action”) and
 7   Wayfarer Studios LLC v. Lively, et al., 1:25-cv-00449 (S.D.N.Y.) (the “Wayfarer
 8   Action”) (together, the “Actions”) filed in the United States District Court for the
 9   Southern District of New York. 1
10

11   DATED: June 20, 2025                            MANATT, PHELPS & PHILLIPS LLP
12

13                                                   By: /s/ Esra A. Hudson
                                                           Esra A. Hudson
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                                                           Stephanie A. Roeser
15                                                        Attorneys for Movants
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       A copy of the operative complaint in the Lively Action (the “Lively Complaint”) is attached as Exhibit A
     to the accompanying Declaration of Esra A. Hudson (“Hudson Decl.”), and a copy of the operative
27   complaint in the Wayfarer Action (the “Wayfarer Complaint”) is attached as Exhibit B to the Hudson Decl.

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 1   I.      INTRODUCTION
 2           A.    Ms. Lively’s Introductory Statement.
 3           Ms. Lively initiated litigation in the Southern District of New York in
 4   connection with sexual harassment she and others experienced while filming the
 5   movie “It Ends With Us” (the “Film”) and subsequent retaliation designed to “bury”
 6   her for speaking out. Ms. Lively brought her claims against Wayfarer Studios LLC
 7   (“Wayfarer”), a production company that co-financed and produced the Film and
 8   was the employer of all cast and crew on set, including Ms. Lively (Lively Complaint
 9   ¶ 57), as well as Justin Baldoni, the co-founder and co-chairman of Wayfarer who
10   co-starred in, directed, and served as a producer of the Film (id. ¶ 58); Jamey Heath,
11   the CEO and former President of Wayfarer (id. ¶ 59); and several other Wayfarer
12   Executives, affiliated entities, and public relations professionals (id. ¶¶ 60–66)
13   (together with all Defendants, the “Wayfarer Parties”).2
14           Ms. Lively alleges that she and other employees, cast, and crew of the Film
15   were the subject of unwelcome and inappropriate behavior by Mr. Baldoni and Mr.
16   Heath during production of the Film (id. ¶¶ 75–109), and that the Wayfarer Parties
17   retaliated against Ms. Lively for raising concerns about sexually harassing and other
18   inappropriate conduct on set by initiating a “social manipulation” campaign (the
19   “Retaliation Campaign”) (id. ¶¶ 183–193). Shortly after Ms. Lively filed the Lively
20   Action, the Wayfarer Parties filed their own action against Ms. Lively and others,
21   including her husband, Mr. Reynolds, which is subject to multiple motions to
22   dismiss. Discovery in the Actions is ongoing, and the parties have exchanged
23   discovery requests and served numerous third-party subpoenas.
24           In early March 2025, Ms. Lively served third-party subpoenas on Tera Hanks,
25   Mitz Toskovic, Ahmed Musiol, Ashmi Elizabeth Dang, Shekinah Reese, Jariesse
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       For purposes of this Motion, Wayfarer Parties also includes The Agency Group PR LLC, who is a
28   defendant in the Lively Action but not a plaintiff in in the Wayfarer Action.
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           JOINT STIPULATION IN SUPPORT OF MOTION TO COMPEL COMPLIANCE WITH SUBPOENAS
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 1   Blackmon, AJ Marbory, and Jennifer Benson (the “Wayfarer Third Parties”). 3 Each
 2   of the Wayfarer Third Parties is represented by the same counsel that is representing
 3   Wayfarer in the Actions, and all but one are current or former executives or
 4   employees of Wayfarer: Tera Hanks (President of Wayfarer), Ashmi Elizabeth Dang
 5   (Head of Marketing of Wayfarer); Shekinah Reese (Mr. Heath’s assistant); Mitz
 6   Toskovic (Wayfarer employee); AJ Marbory (Mr. Baldoni’ former assistant);
 7   Ahmed Musiol (Wayfarer co-founder and executive producer); Jarriesse Blackmon
 8   (Wayfarer executive assistant); and Jennifer Benson (a health coach that Mr. Baldoni
 9   recommended to Ms. Lively, who may have information relevant to Ms. Lively’s
10   harassment allegations).
11           Each of the Wayfarer Third Parties requested extensions, and Ms. Lively
12   agreed to new deadlines: April 16 for Hanks, Toskovic, and Musiol; April 21 for
13   Blackmon; and April 23 for Dang, Reese, Marbory, and Benson. These deadlines
14   have passed, yet none of the Wayfarer Third Parties has produced a single document.
15   Instead, they served only responses and objections stating they would conduct a
16   reasonable search for responsive documents.
17           Counsel for Ms. Lively conferred with the Wayfarer Third Parties’ counsel
18   for weeks to try to understand their collection efforts, including sources and whether
19   these would include personal devices. See Hudson Decl., Ex. K. But the Wayfarer
20   Third Parties failed to answer basic questions, stalling discovery efforts and
21   compromising Ms. Lively’s ability to gather relevant information. Id. In their final
22   correspondence, the Wayfarer Third Parties stated they are relying on Wayfarer to
23   produce their “professional materials” that are located in Wayfarer’s repositories,
24   and will only individually produce “any remaining responsive and non-privileged
25   materials located on their personal devices.” Id. But as Ms. Lively explained in the
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      Copies of the subpoenas served on the Wayfarer Third Parties (the “Subpoenas”) are attached as Exhibits
28   C through J to the Hudson Decl.
                                                        2
           JOINT STIPULATION IN SUPPORT OF MOTION TO COMPEL COMPLIANCE WITH SUBPOENAS
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 1   conferral, she has documents demonstrating that the Wayfarer Third Parties
 2   conducted a substantial amount of their work, including work related to the
 3   Retaliation Campaign, via text and other messaging applications on their personal
 4   devices (and not exclusively through company emails). Tellingly, the Wayfarer
 5   Third Parties have not articulated any substantive objection to producing all
 6   responsive documents in their possession, custody, and control—including from
 7   their personal devices.
 8           Ms. Lively moved to compel the Wayfarer Third Parties’ compliance with the
 9   subpoenas in the underlying Action. See ECF No. 200.4 The Wayfarer Third Parties
10   responded by objecting on venue grounds only and did not raise any substantive
11   objections. ECF No. 215. They argued that this motion could only be brought in this
12   Court, which is the district of compliance. Id. The Wayfarer Third Parties repeated
13   their assertion that Wayfarer will produce documents that “reside” on its servers, and
14   that the Wayfarer Third Parties will produce other documents “as soon as reasonably
15   practicable.” Id. These representations lack the necessary details about their
16   collection process—including with respect to personal devices.
17           The deadline for substantial completion of document productions is July 1,
18   2025, with all fact discovery to be completed by August 14, 2025. Still, the Wayfarer
19   Third Parties (all of whom are represented by Wayfarer’s counsel) have yet to
20   produce a single document. To avoid further delay and prejudice to Ms. Lively, this
21   Court, the district of compliance, should transfer the present Motion to the issuing
22   court (the Southern District of New York) or, alternatively, order the Wayfarer Third
23   Parties to comply with the Subpoenas and produce documents within ten days of the
24   order being issued. Additionally, Ms. Lively requests expedited consideration of this
25   Motion in view of the above deadlines in the Actions.
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      Ms. Lively respectfully requests that the Court take judicial notice of the documents filed in the Lively
     Action referenced herein. See Hope Med. Enters., Inc. v. Fagron Compounding Servs., LLC, 2021 WL
28   753566, at *11 (C.D. Cal. Jan. 25, 2021). All “ECF” citations are to the Lively Action.
                                                          3
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 1         B.     The Wayfarer Third Parties’ Introductory Statement.
 2         Third parties Tera Hanks, Mitz Toskovic, Ahmed Musiol, Ashmi Elizabeth
 3   Dang, Shekinah Reese, Jariesse Blackmon, AJ Marbory, and Jennifer Benson (the
 4   “Wayfarer Third Parties”) intend to fully comply with the subpoenas at issue, subject
 5   to their timely served objections. The Wayfarer Third Parties have apprised Movant
 6   Blake Lively (“Lively”) multiple times that they have been meticulously gathering,
 7   searching, imaging, and preparing documents responsive to the eight subpoenas and
 8   177 requests in order to meet the production deadlines set in a case in which they are
 9   not even parties. Yet Lively insists on pursuing motion practice in multiple Courts,
10   seeking unspecified relief, without as much as identifying a single request at issue.
11         Rather than discuss actual requests, Lively first demands that this Court
12   transfer her motion compel to the Southern District of New York where her action
13   against Wayfarer is pending. However, the Wayfarer Third Parties do not consent
14   to transfer, and Lively has not shown any evidence of exceptional circumstances
15   requiring transfer. More importantly, Lively has already filed a motion to compel
16   compliance in the Southern District of New York in an effort to usurp this Court’s
17   jurisdiction over these same subpoenas. The Southern District of New York rejected
18   that effort in a June 16, 2025 order denying that motion and holding “Lively's motion
19   is properly brought in the districts where compliance is required.”
20         Moreover, although Lively asks this Court to order the Wayfarer Third Parties
21   to immediately produce documents, she fails to mention that the broad requests for
22   communications require the Wayfarer Third Parties to image and search numerous
23   separate personal cell phones, containing both responsive information but also
24   immensely private and personal information to which Lively is not entitled. The
25   Wayfarer Third Parties are in the midst of the time intensive and burdensome task
26   of processing the information to comply with the subpoenas without resistance and
27   have agreed to produce responsive, non-privileged documents as soon as practicable.
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 1   Nevertheless, and despite the Wayfarer Third Parties’ diligent efforts to search for
 2   and produce documents, and provision of an estimated date of production, Lively
 3   has initiated unnecessary motion practice in three different courts, including this one,
 4   to compel compliance by non-parties that are already complying with the subpoenas.
 5           Further, while Lively styles her motion as a motion to compel compliance,
 6   she fails to clearly explain what relief she actually seeks from the Court. Lively does
 7   not identify the particular discovery requests she seeks to compel or even include
 8   the Wayfarer Third Parties’ objections. It is unclear how Lively expects this Court
 9   to issue a ruling on requests for documents in a subpoena without such information.
10   Nor does Lively cite any authority regarding her request to compel compliance, but
11   merely argues that this Court should transfer the motion to the New York Court
12   adjudicating the Wayfarer Action, despite each subpoena requiring compliance in
13   this district. In light of these failings and since the Wayfarer Parties have agreed to
14   produce non-privileged, responsive documents subject to their objections, the Court
15   need not and should decline to enter an order compelling compliance.
16   II.     ARGUMENT
17           A.     Ms. Lively’s Position.
18                  1.    This Court Should Transfer the Motion to the Issuing Court
                          in the Southern District of New York
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20           This Court should transfer Ms. Lively’s Motion to Compel to the Southern
21   District of New York because there are “exceptional circumstances” to do so. See
22   Fed. R. Civ. P. 45; see also E4 Strategic Sols., Inc. v. Pebble Ltd. P’ship, 2015 WL
23   12746706, at *2 (C.D. Cal. Oct. 23, 2015). Under the Advisory Committee notes,
24   “transfer may be warranted in order to avoid disrupting the issuing court’s
25   management of the underlying litigation ….” Fed. R. Civ. P. 45(f). “Courts have also
26   considered a number of factors relating to the underlying litigation including the ‘the
27   complexity, procedural posture, duration of pendency, and the nature of the issues
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 1   pending before, or already resolved by, the issuing court in the underlying
 2   litigation.’” E4 Strategic Sols., 2015 WL 12746706, at *3 (citation omitted).
 3         These factors are present here and support transferring this Motion. Judge
 4   Liman in the Southern District of New York has been presiding over the Actions
 5   since they began, is familiar with the full scope of issues involved, and is currently
 6   poised to resolve the parties’ motions to dismiss along with discovery motions
 7   including with respect to subpoenas issued to third parties. See, e.g., ECF Nos. 87,
 8   106, 133, 145, 200, 211. Thus, efficient management of the underlying litigation and
 9   judicial economy strongly counsel in favor of transfer. See Helping Hand Caregivers
10   Ltd. v. Darden Corp., 2016 WL 10987313, at *2-3 (C.D. Cal. Feb. 17, 2016)
11   (transferring subpoena-related motion because the motion would “be better decided
12   by the court with control over the disposition of the underlying case” and the
13   transferee court was “familiar with some [of] the topics listed in the subpoenas,”
14   meriting a finding of “exceptional circumstances”); Le v. Zuffa, LLC, 2017 WL
15   11632246, at *3-4 (C.D. Cal. Mar. 17, 2017) (transferring motion to quash because
16   of the transferee court’s “far superior familiarity with the underlying issues” and
17   where the motion to quash “depend[ed] heavily on determinations of whether the
18   requested documents are relevant to the underlying case.”). Judge Liman’s
19   familiarity with the issues underlying the Subpoena is particularly critical here to
20   allow for swift resolution of this Motion in accordance with the case’s expedited
21   timeline, which contemplates substantial completion of document discovery on July
22   1, close of fact discovery on August 14, and a trial date of March 9, 2026. ECF Nos.
23   45, 58. For these reasons, exceptional circumstances warrant transferring this
24   Motion to the Southern District of New York. See Fed. R. Civ. P. 45(f).
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 1               2.     Alternatively, the Court Should Compel the Wayfarer
 2
                        Third Parties to Fully Comply with the Subpoenas.

 3         The Wayfarer Third Parties do not contest that Ms. Lively validly served the
 4   Subpoenas, which each list a place of compliance located within this Court’s
 5   jurisdiction. Each of the Subpoenas seek information that is plainly relevant to the
 6   Actions, including information about Ms. Lively and Mr. Reynolds; the Actions; the
 7   Film and its marketing; complaints and grievances raised by Ms. Lively in
 8   connection with the Film; harassment, discrimination, workplace misconduct, or
 9   other inappropriate behavior related to the Film, Mr. Baldoni, or Mr. Heath; the
10   Retaliation Campaign targeting Mr. Baldoni and Ms. Lively’s public images; the
11   public relations services provided by Defendants The Agency Group PR LLC and
12   Melissa Nathan; the public relations services provided by Defendants Jed Wallace
13   and Street Relations, Inc.; phone records relating to the allegations in the Lively
14   Complaint; and the Wayfarer Third Parties’ decision to hire the same counsel as
15   Wayfarer. See generally Exs. C–J.
16         Whether Ms. Lively can obtain these documents and communications will
17   affect her ability to prove that she experienced inappropriate and unwelcome
18   misconduct while on the set of the Film, that she raised concerns about such
19   misconduct, and that the Wayfarer Parties coordinated the Retaliation Campaign
20   against her for doing so. Among other topics, these documents and communications
21   will specifically evidence Wayfarer’s knowledge about the misconduct on the Film
22   set and how it and other Wayfarer Parties reacted to Ms. Livley’s reports, how and
23   when the Retaliation Campaign was formulated, the web of individuals involved in
24   that campaign, and how social media was manipulated in furtherance thereof. The
25   Wayfarer Third Parties are executives and employees of Wayfarer (many of whom
26   worked directly with Mr. Baldoni and Mr. Heath), and text messages already
27   obtained show that certain of them were directly involved in the Retaliation
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        JOINT STIPULATION IN SUPPORT OF MOTION TO COMPEL COMPLIANCE WITH SUBPOENAS
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 1   Campaign. These individuals are thus likely to possess information that is not only
 2   relevant, but essential to Ms. Lively’s claims and defenses. Indeed, the Wayfarer
 3   Parties admitted as much by identifying the Wayfarer Third Parties in their Initial
 4   Disclosures.
 5         In any event, it is Ms. Lively’s understanding that the Wayfarer Third Parties
 6   do not actually contest relevancy. And after extensive conferrals, the Wayfarer Third
 7   Parties’ counsel withdrew numerous other objections and agreed to produce all
 8   relevant, non-privileged materials in response to the Subpoenas. See Ex. K. Indeed,
 9   in their recent correspondence filed in the underlying Actions, the Wayfarer Third
10   Parties only objected on the basis of venue in the Southern District of New York and
11   did not raise any substantive objections or defenses to the Subpoenas. See generally,
12   Lively Action, ECF No. 215. Accordingly, there are no active disputes regarding
13   whether the Subpoenas were validly served, whether the Subpoenas seek relevant
14   information, or whether the Subpoenas are subject to any other objections. All that
15   is left for the Wayfarer Third Parties to do is comply and produce documents,
16   including from their personal devices.
17         But even with the extensions that Ms. Lively provided the Wayfarer Third
18   Parties, the deadlines for compliance have long since passed, and none of the
19   Wayfarer Third Parties has produced a single document. The Wayfarer Third
20   Parties are not excused from complying with the Subpoenas in a timely manner
21   merely because they are relying on Wayfarer to search for and produce their
22   documents. Indeed, any negotiations between Ms. Lively and Wayfarer and
23   extensions provided to Wayfarer to produce its own documents in discovery are
24   independent from and inapplicable to the Wayfarer Third Parties’ obligations to
25   respond to their Subpoenas.
26         What is more, counsel for the Wayfarer Third Parties have refused to answer
27   Ms. Lively’s basic questions regarding the Wayfarer search, including what
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        JOINT STIPULATION IN SUPPORT OF MOTION TO COMPEL COMPLIANCE WITH SUBPOENAS
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 1   documents and repositories (including personal devices) are being searched.
 2   Although all of the Wayfarer Third Parties are represented by Wayfarer’s counsel,
 3   it is unclear if all of the Third Parties were definitively employees of Wayfarer—
 4   including Mr. Baldoni’s health coach, Jennifer Benson, and Mr. Heath’s assistant,
 5   Shekhinah Reese—and therefore whether Wayfarer would even have possession of
 6   their documents. For those Wayfarer Third Parties who were definitively employed
 7   by Wayfarer, it is even unclear which of these Third Parties are current Wayfarer
 8   employees such that all of their documents and communications would be within
 9   Wayfarer’s custody and control. As such, the Wayfarer Third Parties have left Ms.
10   Lively completely in the dark as to whether she should expect Wayfarer to provide
11   documents for all of the Wayfarer Third Parties or only some of them, and the extent
12   of the documents to be provided by Wayfarer.
13         Aside from Wayfarer and the Wayfarer Third Parties’ arrangement for
14   Wayfarer to search for and collect the Wayfarer Third Parties’ “professional
15   materials” from Wayfarer’s own repositories, the Wayfarer Third Parties have no
16   reason for not producing documents and communications from their own personal
17   devices. Rather, the Wayfarer Third Parties have implied that they will later produce
18   “any remaining responsive and non-privileged materials located on their personal
19   phones” after Wayfarer has searched its own repositories. Ex. K. But this again
20   signifies that the Wayfarer Third Parties—in cooperation with Wayfarer—are
21   seeking to delay and prolong discovery. Indeed, there is no reason that the Wayfarer
22   Third Parties can or should wait to review documents and communications contained
23   on their personal devices (including, for example, directly responsive text
24   communications that would not be stored in Wayfarer repositories). Their refusal to
25   do so implies that such documents and communications will not be provided to Ms.
26   Lively until an unknown time in the future—when almost two months have already
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        JOINT STIPULATION IN SUPPORT OF MOTION TO COMPEL COMPLIANCE WITH SUBPOENAS
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 1   passed since the original compliance date, and with less than one month remaining
 2   until the deadline for the parties to produce documents.
 3          Wayfarer and the Wayfarer Third Parties’ arrangement has necessarily
 4   resulted in an improper attempt to seek to extend the Third Parties’ deadline for
 5   compliance and slow roll discovery. Wayfarer’s decision to insert itself (and its
 6   counsel) into the process of responding to the Subpoenas is not an excuse to delay
 7   or otherwise evade compliance. Accordingly, the Court should compel the Wayfarer
 8   Third Parties, whether through the Wayfarer Third Parties themselves or through
 9   Wayfarer, to produce all relevant, non-privileged material in the Wayfarer Third
10   Parties’ possession, custody, or control that is responsive to the Subpoenas, whether
11   found through Wayfarer’s repositories or the Third Parties’ personal devices within
12   ten days of the order being issued.
13          B.     The Wayfarer Third Parties’ Position.
14                 1.      The Court Should Not Transfer to the Southern District of
                           New York.
15

16          The Court should not transfer the instant Motion to the Southern District of
17   New York because doing so would impose an unnecessary burden on third parties
18   to the underlying action. The Southern District of New York has already denied
19   Lively’s motion to compel compliance in that district on the basis that Lively’s
20   motion must be brought in this district.5
21          Even if the Southern District would accept a transfer, Rule 45 of the Federal
22   Rules of Civil Procedure permits the transfer of subpoena-related motions from the
23   court where compliance only where (1) the person subject to the subpoena consents;
24   or (2) the court finds exceptional circumstances. E4 Strategic Sols., Inc. v. Pebble
25   Ltd. P’ship, No. SAMC1500022DOCDFMX, 2015 WL 12746706, at *2 (C.D. Cal.
26
     5
      The Wayfarer Third Parties request the Court take judicial notice of Dkt. No. 339 [order denying
27
     motion to compel compliance of Wayfarer Third Parties to Subpoenas] in Lively v. Wayfarer
28   Studios. LLC, et al., Southern District of New York Case No. 24-cv-10049.
                                                    10
         JOINT STIPULATION IN SUPPORT OF MOTION TO COMPEL COMPLIANCE WITH SUBPOENAS
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 1   Oct. 23, 2015); Fed. R. Civ. P. 45(f). None of the Wayfarer Third Parties consents
 2   to transfer of this motion to the Southern District of New York.
 3         As for any claim of exceptional circumstances, “the proponent of transfer
 4   bears the burden of showing that such circumstances are present.” Fed. R. Civ. P. 45
 5   advisory committee’s note to 2013 amendment. The Advisory Committee Notes
 6   make clear: “The prime concern should be avoiding burdens on local nonparties
 7   subject to subpoenas, and it should not be assumed that the issuing court is in a
 8   superior position to resolve subpoena-related motions.” Id. (emphases added). Some
 9   of the circumstances that may justify transfer are specified: “[T]ransfer may be
10   warranted in order to avoid disrupting the issuing court’s management of the
11   underlying litigation, as when that court has already ruled on issues presented by the
12   motion or the same issues are likely to arise in discovery in many districts.” Id. The
13   Advisory Committee Notes conclude: “Transfer is appropriate only if such interests
14   outweigh the interests of the nonparty served with the subpoena in obtaining local
15   resolution of the motion.” Id. (emphasis added).
16         Here, Lively can point to no risk of inconsistent outcomes, or any likelihood
17   of the same issues arising in discovery in many districts, as contemplated by the
18   Advisory Committee Notes. This is not a case in which the interests weighing in
19   favor of transfer so clearly outweigh the interests of the Wayfarer Third Parties in
20   having a local court determine their rights that exceptional circumstances can be said
21   to exist. For example, this is not a case in which the underlying discovery dispute
22   involves complex issues stemming from events in the Southern District of New
23   York; nor has the case already been pending in that District for many years spanning
24   multitudes of orders resolving significant procedural or discovery disputes. See, e.g.,
25   In re UBS Fin. Servs., Inc. of Puerto Rico Sec. Litig., 113 F. Supp. 3d 286, 288
26   (D.D.C. 2015). On the contrary, this case has not been pending even seven months,
27   and the issue at stake in this Motion—whether it is necessary to order compliance
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        JOINT STIPULATION IN SUPPORT OF MOTION TO COMPEL COMPLIANCE WITH SUBPOENAS
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 1   from parties who are already complying with subpoenas in good faith—is
 2   straightforward. The Court can and should decide this Motion, and transfer to the
 3   Southern District of New York is unnecessary and not justified by interests
 4   outweighing the burden imposed on the Wayfarer Third Parties by requiring them to
 5   litigate in a court located across the country.
 6         Lively also ignores that the Wayfarer Third Parties have a significant interest
 7   in having the question of their compliance with the Subpoenas be decided by the
 8   local court that has personal jurisdiction over them. Notably, each of the Wayfarer
 9   Third Parties is a private individual, not a multinational corporation or a wealthy,
10   globetrotting celebrity—a factor that is “relevant as the Court evaluates any burden
11   imposed.” Agincourt Gaming, LLC v. Zynga, Inc., No. 2:14-CV-0708-RFB-NJK,
12   2014 WL 4079555, at *8 (D. Nev. Aug. 15, 2014).
13                2.      The Court Need Not, and Should Not, Enter an Order
14                        Compelling Compliance with the Subpoenas.
15

16         This Court should not compel compliance with the Subpoenas because such
17   an order is unnecessary. The Wayfarer Third Parties have advised Lively, time and
18   time again, that they are presently engaged in a good-faith effort to comply with the
19   Subpoenas and that they anticipate completing those efforts by July 1, 2025 at the
20   latest, the date for substantial completion of production of documents in the underly
21   Southern District of New York action. Declaration of Summer Benson (“Benson
22   Decl.”), Exs. 1-2.
23         The delay is justified as the subpoenas are not simple requests for one or two
24   documents. Each of the eight subpoenas contains 14 pages of definitions and
25   instructions, including complex ESI protocols, and seeks up to 26 different
26   categories of documents for production. Declaration of Esra Hudson (“Hudson
27   Decl.”), Exs. C-J. The initial dates of compliance provided a maximum of 20 days
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        JOINT STIPULATION IN SUPPORT OF MOTION TO COMPEL COMPLIANCE WITH SUBPOENAS
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 1   to comply, with some subpoenas allowing even less time. Id. Some requests are
 2   extremely broad, relating to months of phone records, although allowed that “non-
 3   responsive information may be redacted.” See, e.g., Id., Exs. C-F at Nos. 25-26.
 4   Other requests seek months of communication about a wide variety of subjects. Id.
 5   at No. 1 (All documents and communications related to Lively, Ryan Reynolds, their
 6   companies, or their families); No. 2 (All documents and communications related to
 7   the film It Ends With Us). Lively fails to mention the burden such preparation for
 8   production entails.
 9         The Wayfarer Third Parties nonetheless agreed to produce the responsive,
10   non-privileged documents in their possession, custody and control, despite the
11   burden that such a production carries. A substantial volume of data has been
12   collected from Wayfarer’s servers, databases, and other repositories, and is being
13   reviewed and produced on a rolling basis, a process that has already begun. To date,
14   Wayfarer itself has made multiple productions, including productions of emails and
15   other professional materials for the subpoenaed custodians. Benson Decl., Ex. 1.
16   Counsel expects to complete production by the July 1, 2025 substantial completion
17   of document production date.
18         Rather than allow the Wayfarer Third Parties the time needed to fully comply
19   with the subpoenas, Lively has rushed into multiple Courts, insinuating that these
20   third parties are purposely moving slowly in some kind of coordinated effort with
21   Defendants in the main action. Lively is mistaken. Wayfarer encourages production
22   of the responsive documents as they will evidence the falsity of Lively’s allegations.
23   However, the Wayfarer Third Parties needed more than a few weeks to image and
24   produce all of the documents responsive to the 177 requests.
25         Regarding materials within the sole possession, custody, or control of the
26   Wayfarer Third Parties, all relevant personal devices of the subpoenaed individuals
27   have been forensically collected, where applicable. These substantial data sets are
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                                              13
        JOINT STIPULATION IN SUPPORT OF MOTION TO COMPEL COMPLIANCE WITH SUBPOENAS
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 1   currently undergoing priority review, and the collected documents that are
 2   responsive and non-privileged will be produced in accordance with the ESI
 3   stipulation in the Southern District of New York action. Counsel anticipates
 4   completing these productions by June 27, 2025, but in no event later than July 1,
 5   2025.
 6           For these reasons, the Wayfarer Third Parties respectfully request that the
 7   Court deny Lively’s Motion.
 8                                              Respectfully submitted,
 9
     Dated: June 20, 2025                       MANATT, PHELPS & PHILLIPS,
10                                              LLP
11

12                                              /s/ Esra A. Hudson_______________
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        JOINT STIPULATION IN SUPPORT OF MOTION TO COMPEL COMPLIANCE WITH SUBPOENAS
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